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                                No. 24-10277


                 UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT


               INSURANCE MARKETING COALITION LTD.
                            Petitioner,

                                     v.

            FEDERAL COMMUNICATIONS COMMISSION and
                  UNITED STATES OF AMERICA,
                          Respondents.


                     On Petition for Review of an Order of
                   the Federal Communications Commission


   PROPOSED BRIEF OF AMICI CURIAE ELECTRONIC PRIVACY
 INFORMATION CENTER, CONSUMER FEDERATION OF AMERICA,
  PUBLIC KNOWLEDGE, AND NATIONAL ASSOCIATION OF STATE
   UTILITY CONSUMER ADVOCATES IN SUPPORT OF PROPOSED
      INTERVENORS’ PETITION FOR REHEARING EN BANC



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Dated: Mar. 14, 2025
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         Insurance Marketing Coalition Ltd. v. FCC, Case No. 24-10277

                 CERTIFICATE OF INTERESTED PERSONS

      Under Eleventh Circuit Rules 26.1-1, 26.1-2(c), and 27-1(a)(10), undersigned

counsel for amici curiae certifies that the following is a full and complete list of all

persons, firms, associations, partnerships, and corporations, including subsidiaries,

conglomerates, affiliates, parent corporations, and other legal entities having an

interest in the outcome of this case:

      1. Aggarwal, Sameer, Covington & Burling LLP, counsel for Petitioner;

      2. Bergmayer, John, Public Knowledge, Amicus Curiae at en banc stage;

      3. Boeglin, John A., Covington & Burling LLP, former counsel for

          Petitioner;

      4. Carter, Carolyn, National Consumer Law Center, counsel for Amicus

          Curiae National Consumer Law Center;

      5. Citrin, Sarah E., Federal Communications Commission, counsel for

          Respondent;

      6. Covington & Burling LLP, counsel for Petitioner;

      7. Dori, Yaron, Covington & Burling LLP, counsel for Petitioner;

      8. Dunne, Matthew J., Federal Communications Commission, counsel for

          Respondent;

      9. Electronic Privacy Information Center, Amicus Curiae;


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    10. Ellison, P. Michele, Federal Communications Commission, counsel for

       Respondent;

    11. Federal Communications Commission, Respondent;

    12. Garcia, Nicholas, Public Knowledge, counsel for Amicus Curiae Public

       Knowledge;

    13. Glover, Matthew J., Covington & Burling LLP, counsel for Petitioner;

    14. Greenburg, Sally, Intervenor National Consumers League;

    15. Insurance Marketing Coalition Limited, Petitioner;

    16. Iorio, Megan, Electronic Privacy Information Center, counsel for Amici

       Curiae;

    17. King, Kevin F., Covington & Burling LLP, counsel for Petitioner;

    18. Lewis, Jacob Matthew, Federal Communications Commission, counsel for

       Respondent;

    19. McNally, Christopher K., Intervenor;

    20. Mobley, Micah, Intervenor;

    21. Murray, Teresa, Amicus Curiae U.S. PIRG;

    22. National Association of State Utility Consumer Advocates, Amicus Curiae

       at en banc stage;




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      Insurance Marketing Coalition Ltd. v. FCC, Case No. 24-10277

    23. National Consumer Law Center, Amicus Curiae and counsel for Intervenor

       National Consumers League;

    24. National Consumers League, Intervenor;

    25. Nicholls, Leah M., Public Justice, counsel for Intervenors;

    26. Nicholson, Robert B., U.S. Department of Justice, counsel for Respondent;

    27. Osborne, Chuck, Intervenor;

    28. Public Justice, counsel for Intervenors;

    29. Public Knowledge, Amicus Curiae;

    30. Saunders, Margot, National Consumer Law Center, counsel for Amicus

       Curiae National Consumer Law Center;

    31. Schwanbeck, Mark, Intervenor;

    32. United States of America, Respondent;

    33. U.S. PIRG, Amicus Curiae;

    34. Wagner, Jennifer S., National Consumer Law Center, counsel for

       Intervenor National Consumers League;

    35. Wiggers, Robert J., U.S. Department of Justice, counsel for Respondent;

    36. Witte, Erin, Consumer Federation of America, counsel for Amicus Curiae

       Consumer Federation of America.




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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. P. 26.1, Amici Curiae the Electronic Privacy

Information Center, Consumer Federation of America, Public Knowledge, and the

National Association of State Utility Consumer Advocates state that they have no

parent corporations and that no publicly held corporation owns 10% or more of

their stock.



March 14, 2025                       /s/ Megan Iorio
                                     Megan Iorio

                                     Counsel for Proposed Amici Curiae




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     INTERESTS OF AMICI AND SUITABILITY FOR EN BANC REVIEW

        Electronic Privacy Information Center and other consumer advocates1

regularly advocate in TCPA cases in support of consumer privacy and file comments

with regulatory agencies such as the Federal Communications Commission (FCC)

to better protect consumers from unwanted calls, as they did in the FCC proceeding

and 11th Circuit panel regarding this FCC rule.

        Amici believe, based on a reasoned and studied professional judgment, that

the panel decision contradicts the Supreme Court’s decision in Loper Bright

Enterprises v. Raimondo, 603 U.S. 369 (2024). The full circuit court must review

the panel decision to ensure uniformity of precedent.

        Amici believe, based on a reasoned and studied professional judgment, that

this appeal involves questions of exceptional importance:

        1.    Whether a court, in evaluating whether a consumer protection agency

exceeded its statutory authority in promulgating a rule grounded in a consumer

protection statute, can disregard the factual underpinnings of the rule and the real-




1
  No party’s counsel authored this brief in whole or in part. No entity other than
amici curiae contributed money that was intended to fund preparing or submitting
the brief. As EPIC noted in its motion requesting the court’s leave to file this
amicus brief, the submission of this brief is conditionally unopposed.

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world consequences of vacating the rule where vacating the rule would negatively

impact consumers.

      2.     Whether a court, in evaluating whether an agency exceeded its statutory

authority in promulgating a rule, can interpret statutory language so as to

simultaneously: (a) require that agency to implement the statute and (b) prohibit that

agency from interpreting an undefined term in that statute.




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STATEMENT OF THE ISSUES MERITING EN BANC CONSIDERATION

      1.    Whether a court, in evaluating if the Federal Communications

Commission (FCC) exceeded its statutory authority in promulgating a rule under the

Telephone Consumer Protection Act (TCPA), can disregard the factual context

under which the rule was enacted.

      2.    Whether the FCC exceeded its statutory authority under the TCPA in

interpreting the manner in which companies must comply with the “prior express

consent” (PEC) provisions of the statute where the TCPA does not define PEC.




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                            STATEMENT OF FACTS

      More than three decades ago, Congress enacted the Telephone Consumer

Protection Act (TCPA), 47 U.S.C. § 227, to balance consumer privacy with

streamlining business communications, and tasked the Federal Communications

Commission (FCC) with implementing corresponding regulations. Today,

Americans are bombarded with billions of unwanted robocalls every month; many

of these calls are the result of lead generators collecting and reselling consumers’

consent to be robocalled. The FCC recognized this pernicious problem and, and after

undergoing notice and comment rulemaking in which stakeholders expressed a

desire for the FCC to step in, the agency enacted a rule restricting how TCPA

consents can be obtained and prohibiting their resale. The rule, if it were to go into

effect, would greatly reduce the volume of unwanted and illegal robocalls,

redounding to the benefit of consumers, telecommunications providers attempting

to mitigate scam robocalls, and small businesses victimized by these calls. The Court

should grant the proposed petition of National Consumer League, et al. for en banc

review because the panel decision erroneously vacates a useful mechanism for

mitigating the scourge of robocalls and lays the groundwork to eviscerate consumer

protections beyond the rule at issue.




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                                   ARGUMENT

    I.      The FCC’s Rule Effectively Curbs Robocalls, without Ruinous
            Consequences for Business, Because it Targets One Practice: Selling
            TCPA Consents.

         The panel’s decision to vacate the FCC’s one-to-one consent rule will have

negative repercussions for millions of Americans—indeed available data suggest

that it already has—as the FCC’s rule was tailored to curtail a specific, leading

source of unwanted robocalls: calls resulting from consumer consents resold by lead

generators.

    A. Lead generators are responsible for a large portion of the billions of
       unwanted robocalls that harass American consumers and small
       businesses every month.

         Consumers receive more than 4 billion robocalls each month; more than half

of these are telemarketing or outright scam robocalls. See February 2025

Nationwide Robocall Data.2 YouMail has noted: “calls initially viewed as

telemarketing are eventually recognized as illegal telemarketing or scam calls, so

it’s important to measure the overall quantity of scam and spam calls combined.”



2
 https://robocallindex.com/ (visited on Mar. 5, 2025). YouMail is a voicemail and
robocall blocking service that enforcement agencies have relied upon for analysis
of robocall campaigns, see, e.g., Notice of Apparent Liability for Forfeiture, in re:
Telnyx LLC, at 4 fn. 16 (Feb. 4, 2025),
https://docs.fcc.gov/public/attachments/FCC-25-10A1.pdf; Office of the Attorney
General, State of Florida, Department of Legal Affairs v. Smartbiz Telecom LLC,
No. 22-cv-23945 (S.D. Fl.), Dkt. 50 at 10-11.

                                          3
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PR Newswire, Robocalls Top 50.3 Billion in 2022, Matching 2021 Call Volumes

Despite Enforcement Efforts (Jan. 5, 2023).3 As EPIC and others offered in an

amicus brief to the panel, these unwanted calls not only hurt consumers but also

negatively impact entrepreneurs. See, e.g., ECF 41 at 9.

      The panel’s vacatur of the FCC’s rule has already hurled the doors back open

to these calls; for example, YouMail indicates that weekly volumes of robocall

campaigns targeting low income individuals (e.g. offering easy loans) increased

substantially starting Monday, January 27th, the first full business day after the panel

issued its opinion. YouMail Observes Dramatic Rise in Harmful Robocalls in

February 2025, (Mar. 13, 2025).4 Indeed, the monthly count of these calls surged

from 296 million in December to more than 440 million in January and an estimated

477 million in February. Id. America’s robocall problem is poised to get even worse

with the injection of artificial intelligence (AI) into robocall campaigns; an analysis

of confidential data performed for EPIC and NCLC by YouMail has uncovered

significant use of AI in robocalls in 2025 already. Id.

      This Court should reconsider the panel’s vacatur order, which leaves

consumers and small businesses vulnerable to an onslaught of unwanted robocalls.



3
  https://www.prnewswire.com/news-releases/robocalls-top-50-3-billion-in-2022–
matching-2021-call-volumes-despite-enforcement-efforts-301714297.html.
4
  https://epic.org/youmail-observes-dramatic-rise-in-harmful-robocalls-in-february-
2025/.

                                           4
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     B. The FCC’s rule is tailored to address the harms caused by lead
        generators.

        The FCC found that “[l]ead-generated communications are a large percentage

of unwanted calls and texts.” In re: Targeting and Eliminating Unlawful Text

Messages, Rules and Reguls. Implementing the Tel. Consumer Prot. Act of 1991,

Advanced Methods to Target and Eliminate Unlawful Robocalls, Second Report and

Order ¶ 30, CG Docket Nos. 21-402, 02-278, 17-59, 38 FCC Rcd. 12247 (Dec. 18,

2023) (Order).5 This is unsurprising, as the industry is premised upon proliferating

telemarketing communications. Moreover, the lead generator industry is notorious

for unscrupulous behavior resulting in illegal robocalls. See, e.g., Complaint, State

of Ohio ex rel. Attorney General Dave Yost v. Jones, No. 2:22-cv-2700, at ¶ 69 (S.D.

Ohio July 7, 2022) (“…Sumco Panama needed to ‘buy some time’ before responding

in order to add ‘auto services’ language to the list of opt-in websites in the terms and

conditions after many VSC robocalls were made based on the alleged ‘opt in’ from

these websites.” (emphasis in original)); In re John C. Spiller, 36 FCC Rcd 6225,

6228-29, ¶¶ 6-9 (Mar. 18, 2021) (lead generator made more than 1,000,000,000




5
    https://docs.fcc.gov/public/attachments/FCC-23-107A1.pdf.

                                           5
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robocalls in six months, specifically targeting seniors and phone numbers on the Do

Not Call Registry because those calls were more profitable).

      As a business model, online lead generators (LGs) find consumers who are

purportedly interested in receiving information about products or services available

for purchase, such as automobile or health insurance, as the panel described. See

ECF 60 at 5-6. The customer companies (“sellers”) of the LG pay the LG for each

potentially interested consumer (“lead”); these leads may be sold and resold

repeatedly. Moreover, LGs often make multiple rounds of calls to a single

consumer’s phone over the course of several weeks, with each round designed to sell

a different seller’s products or services. The consumer almost never expects that the

LG understood the completed webform to constitute express consent to receive calls

from so many entities, indefinitely. The FCC’s rule does not prevent a seller from

obtaining leads; it merely requires that consent for a seller to robocall a consumer

be obtained either (1) by the LG on a one-to-one basis for each seller or (2) by the

seller from each phone subscriber directly.

      The FCC’s rule makes it more likely that a consumer’s consent to be

robocalled reflects their actual desire to receive robocalls from a specific company

rather than being forced or duped into opening the flood gates to a deluge of

robocalls every time they fill out a webform. As USTelecom noted in the rulemaking

proceeding below:



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      lead generation robocall campaigns often rely on flimsy claims of
      consent where a consumer interested in job listings, a potential reward,
      or a mortgage quote, unknowingly and unwillingly “consents” to
      telemarketing calls from dozens – or hundreds or thousands – of
      unaffiliated entities about anything and everything.

Comments of USTelecom at 2 (May 8, 2023).6

      Consumers typically have minimal visibility into those with whom LGs share

their information. As the FCC has noted, clear and conspicuous disclosure is

necessary for prior express written consent, meaning that a consumer cannot be said

to meaningfully consent if they do not know to whom they are providing that

consent. See, e.g., Order at ¶ 32 (citing to Urth Access Order, Dec. 8, 20227). There

are also obvious issues with revocation of consent when consumers are not aware of

every business with whom a LG may have shared that consumer’s contact

information. See, e.g., Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255 (11th

Cir. 2014) (noting revocation of consent is consistent with TCPA’s legislative

history); In re: Rules and Reguls. Implementing the Tel. Consumer Prot. Act of 1991,

Report and Order and FNPRM ¶ 1, CG Dkt. Nol. 02-278 (Feb. 16, 2024) (noting

that a “consumer’s right to revoke consent after deciding they no longer want




6
  https://www.fcc.gov/ecfs/search/search-filings/filing/10508915228617.
7
  https://docs.fcc.gov/public/attachments/DA-22-1271A1.pdf at ¶ 16 (“We find that
listing more than 5,000 “marketing partners” on a secondary website is not
sufficient to demonstrate that the called parties consented to the calls from any one
of these ‘marketing partners.’”).

                                         7
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robocalls or robotexts is essential to the right of consent”).8 Additionally, as a

practical matter, unwittingly granting consent with a single click to thousands of

businesses should not then take thousands of calls from the consumer to revoke that

one-click consent. This is especially true where that consumer may never have

actually filled out that webform in the first place. See, e.g., Josh Sternberg, Digiday,

Confessions of a Lead-Gen Specialist (June 4, 2012) (“I have seen thousands of leads

come through in a matter of hours from one source. All were fraud, and none of the

leads had ever opted in or had any memory of visiting the site/offer.”).9 The FCC’s

rule accounts for these unfortunate realities and mitigates the consumer harm by

requiring each LG to obtain consent to robocall per individual seller.

      The rule is also tailored to address the health of America’s phone network and

more grievous consumer harms. The prodigious volume of unwanted telemarketing

robocalls makes it difficult for enforcement agencies and private actors to identify

and mitigate outright scam traffic. See, e.g., Reply Comments of EPIC, NCLC,

Public Knowledge, CG Dkt. No. 17-59 at 4, 6 (Sept. 8, 2023).10 Calls often pass

through multiple voice service providers between the caller and the consumer-being-

called; each “hop” between providers allows for scam call traffic to mix in with other



8
  https://www.fcc.gov/document/fcc-adopts-rules-empower-consumers-stop-
robocalls-robotexts-0.
9
  https://digiday.com/marketing/confessions-of-a-lead-gen-specialist/.
10
   https://www.fcc.gov/ecfs/search/search-filings/filing/1090831416629.

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call traffic, making it increasingly difficult for voice service providers farther from

the source of scam calls to detect and block those scams. See, e.g., Comments of

EPIC and NCLC, CG Dkt. No. 17-59 at 18 (Aug. 17, 2022).11 A reduction in

unwanted telemarketing robocalls would make mitigating scam traffic easier.

     II.      The Panel’s Reasoning Sets the Stage to Unravel Longstanding
              Consumer Protections, Like Written Consent for Telemarketing
              Robocalls.

           Congress delegated clear and unequivocal authority to the FCC to define the

contours of “prior express consent” (PEC) in the robocall context to give American

cell phone subscribers—both consumer and business alike—a meaningful choice as

to which robocalls they want to receive. 47 U.S.C. § 227. The FCC’s one-to-one

consent rule is consistent with prior express consent; it is the panel’s decision that

“conflict(s) with” PEC, including with commonsense notions like revoking consent.

The panel’s reasoning has additional negative downstream consequences, for

example: (1) it invites line-drawing about how many companies a consumer can

expressly consent to receive robocalls from at once, without offering any guidance

and precluding the FCC from offering any, and (2) it potentially lays the groundwork




11
     https://www.fcc.gov/ecfs/search/search-filings/filing/10817350228611.

                                            9
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to unravel the FCC’s requirement that prior express consent must be written for

telemarketing robocalls.12

      PEC in the TCPA is a term of art that courts have construed to mean that

consent cannot be implied or transferred. See, e.g., Leckler v. Cashcall, Inc., 554 F.

Supp. 2d 1025, 1029-30 (N.D. Cal. 2008) (holding consumer providing phone

number in credit application was implied consent not express consent to be

robocalled by debt collector, and finding FCC interpretation declaring it express

consent unreasonable); Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 955 (9th

Cir. 2009) (noting consent to receive promotional material from one company cannot

be read as expressly consenting to receive promotional material from another,

unrelated company).

      The FCC determined that consent in the robocall context must be one-to-one.

And for good reason: a consumer’s consent-to-be-robocalled cannot reasonably be

considered express consent when the list of companies is 5,000 long or more. See

Order (citing to Urth Access Order) supra. Similarly, LGs foisting a single checkbox

for consent on consumers that applies to multiple companies—“take it or leave it”—

rather than giving the consumer the opportunity for company-specific consent, is not



12
  Amici’s view is that a requirement that consent be reduced to a writing signed by
the consumer, authorizing the seller to robocall a particular telephone number, is
wholly consistent with 47 U.S.C. § 227(b)(1)(A)’s requirement that consent be
“express.”

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express consent in the context of robocalls. The FCC adopted a bright-line rule to

give consumers and businesses clarity on what is expected and to ensure courts don’t

have to draw arbitrary lines about how many consents is too many in varying

contexts. It is within the FCC’s authority to make such a rule. The panel

fundamentally misunderstood the purpose of the TCPA, as starkly evidenced by their

framing of the law as a right to receive robocalls, see ECF 59, oral argument

recording, at 13:28,13 despite the plain text of the statute stating the purpose of the

law as “restrictions on use of telephone equipment.” 47 U.S.C. § 227 (emphasis

added).

      The panel’s decision raises additional concerns to the extent that applying its

logic could jeopardize the FCC’s authority to require that PEC must be written in

the context of telemarketing robocalls, a precedent established for more than a

decade. See in re: Rules and Reguls. Implementing the Tel. Consumer Prot. Act of

1991, 27 FCC Rcd. 1830 (2012).14 In the context of telemarketing robocalls

specifically, the FCC determined that non-written consent was not express consent

because it did not reflect actual consumer choice. See id. If the panel’s rule stands—

that the FCC cannot interpret the word “express” to limit the scope of acceptable


13
   https://www.ca11.uscourts.gov/oral-argument-recordings?title=24-
10277&field_oar_case_name_value=&field_oral_argument_date_value%5Bmin%
5D=&field_oral_argument_date_value%5Bmax%5D=.
14
   https://www.fcc.gov/document/fcc-strengthens-consumer-protections-against-
telemarketing-robocalls.

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forms of consent—then industry may argue that the FCC was not authorized to

interpret “express” to require written consent. See, e.g., ECF 50 at 13-15, 18-19.

      The FCC did not exceed its authority in interpreting “express” in either

robocall context.

                                  CONCLUSION

      For these reasons, the Court should grant proposed intervenors’ petition for

rehearing en banc.



March 14, 2025                         Respectfully Submitted,

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                       CERTIFICATE OF COMPLIANCE

      The foregoing brief complies with the length limit of Fed. R. App. P. 29(b)(4)

because, excluding the parts exempted by 11th Cir. R. 29-3, it contains 2,597 words.

This brief complies with the requirements of Fed. R. App. P. 32 because it has been

prepared in proportionally spaced typeface, using Microsoft Word, in Times New

Roman 14-point font.



March 14, 2025                        /s/ Megan Iorio
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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 14, 2025, the foregoing brief was filed

electronically with the Clerk of Court through the appellate CM/ECF system. I

further certify that all parties required to be served have been served.



March 14, 2025                          /s/ Megan Iorio
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